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are rightly entitled to the return of Exhibit J and the prohibition of any

exploitation of it.

July 27, 2020                           Respectfully submitted,

                                        PHIL DILUCENTE AND ASSOCIATES

                                        By: /s/Phillip P. DiLucente
                                            One of the Attorneys for Movants,
                                            Nocito Enterprises, Inc., Palace
                                            Development Company, Inc.
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                          CERTIFICATE OF SERVICE

       The undersigned hereby certifies that in accordance with Fed. R. Crim. P.

49(e), Fed. R. Civ. P. 5, LCvR 5.5 and LCvR 5.6, and the Court’s Standing Order

on Electronic Case Filing Policies and Procedures, the following documents:

  MEMORANDUM OF LAW IN SUPPORT OF RULE 41(g) MOTION OF NOCITO
    ENTERPRISES, INC., PALACE DEVELOPMENT COMPANY, INC., AND
    JONOLLEY PROPERTIES, INC. FOR RETURN OF SEIZED PROPERTY

were served on July 27, 2020, through the Court’s ECF system as to ECF filers.

                                             /s/Phillip P. DiLucente


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